Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 1 of 15 PageID #: 73
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 2 of 15 PageID #: 74
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 3 of 15 PageID #: 75
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 4 of 15 PageID #: 76
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 5 of 15 PageID #: 77
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 6 of 15 PageID #: 78
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 7 of 15 PageID #: 79
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 8 of 15 PageID #: 80
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 9 of 15 PageID #: 81
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 10 of 15 PageID #: 82
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 11 of 15 PageID #: 83
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 12 of 15 PageID #: 84
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 13 of 15 PageID #: 85
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 14 of 15 PageID #: 86
Case 1:22-cv-00246-JJM-PAS Document 8-1 Filed 08/09/22 Page 15 of 15 PageID #: 87
